Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 1 of 38




     EXHIBIT
        1
                   Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 2 of 38




                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF NEW YORK


             Jane Doe 1, individually and on behalf of all
             others similarly situated,                             Case No. 1:22-CV-10019 (JSR)

                  Plaintiff,

                       v.

             JPMorgan Chase Bank, N.A.,

                   Defendant.




                                         STIPULATION OF SETTLEMENT

                   This Stipulation of Settlement, dated June 22, 2023 (the “Stipulation”), is made and entered

  into by and between: (i) Class Representative Jane Doe 1 (“Jane Doe 1” or “Class Representative”),

  on behalf of herself and each Class Member, by and through her counsel of record in the Litigation; 1

  and (ii) Defendant JPMorgan Chase Bank, N.A. (“JPMC” or the “Bank”) by and through its

     counsel of record in the Litigation. The Stipulation is intended to fully, finally, and forever resolve,

  discharge, and settle the Released Claims, subject to the approval of the Court and the terms and

  conditions set forth herein.

I.               THE LITIGATION

                   The Litigation is currently pending before Judge Jed S. Rakoff in the United States District

     Court for the Southern District of New York (the “Court”). The initial complaint in this action

     was filed on November 24, 2022, and JPMC moved to dismiss the initial complaint on December



                   1
           All capitalized terms not otherwise defined shall have the meanings ascribed to them in
  § IV.1 herein.

  13576262 5_7
                                                             1
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 3 of 38




30, 2022. Class Representative filed an Amended Complaint (the “Complaint”) on January 13,

2023, which alleged that Defendant violated the Trafficking Victims Protection Act (“TVPA”), 18

U.S.C. §§ 1591, 1594, 1595. The Complaint further alleged Defendant aided, abetted, and

facilitated battery, committed intentional infliction of emotional distress, negligently failed to

exercise reasonable care to prevent physical harm, and negligently failed to exercise reasonable

care as a banking institution providing non-routine banking services. The Complaint alleged that,

throughout the Class Period (January 1, 1998, through August 10, 2019, inclusive), JPMC

knowingly and intentionally participated in, assisted, supported, and facilitated Jeffrey Epstein’s

sex trafficking venture by, while he was a JPMC customer, providing Jeffrey Epstein and his

associates with (1) the ability to withdraw hundreds of thousands of dollars in cash, (2) access to

wire services, and (3) other banking and investment services while JPMC ignored red flags and

failed in their compliance and regulatory responsibilities, and, after he ceased to be a JPMC

customer, by failing to comply with applicable banking regulations. Class Representative alleged

Class Members—the victims of Jeffrey Epstein’s alleged sex trafficking venture—were harmed

by the Bank’s conduct. JPMC contends that it did not violate the TVPA or commit any common

law negligence torts, as the Bank merely provided routine banking services to Epstein between

1998 and 2013, after which the Bank terminated its relationship with Epstein and was not involved

in his financial activity apart from winding down and transferring his accounts, and was not part

of, and did not know of, Epstein’s alleged criminal sex trafficking venture at any point during the

Class Period.         JPMC denies, inter alia, that Class Members, including Class Representative,

suffered any harm or damages due to the Bank’s conduct, while acknowledging allegations of

abuse by Epstein are serious and may entitle Class Representative or other Class Members to

compensation from Epstein’s estate, his criminal co-conspirators, or others.



13576262 5_7
                                                   2
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 4 of 38




               On February 7, 2023, JPMC moved to dismiss the Complaint. The Court granted in part

and denied in part the motion on March 20, 2023. JPMC answered the Complaint on April 10,

2023. On April 28, 2023, Class Representative moved for class certification, which the Court

granted on June 12, 2023.

               Class Counsel avers that it has worked on the Epstein case for years. Starting back in

2021, Class Counsel began conducting fact investigation and witness interviews and analyzing

potential claims related to the Bank, which included the research and drafting of an initial

complaint. Throughout the case, the Settling Parties engaged in hard-fought litigation. The

Settling Parties conducted extensive fact, class certification, and expert discovery, taking

depositions, producing and reviewing hundreds of thousands of pages of documents, and

exchanging reports and rebuttal reports of three expert witnesses. The Class had more than 25

lawyers working on the case, and JPMC had a large number of lawyers working at both a large,

prominent law firm and a trial litigation boutique. Class Counsel spent extensive hours working

with the Class Representative to gather, review, and produce her relevant communications and

documents and prepare for her deposition. Class Counsel also conducted extensive fact research

and interviewed over fifty witnesses, including several dozen potential victims who were

collectively instrumental in identifying the nature of the claims and the extent of the purported

liability in this matter. Class Counsel then spent hundreds of hours communicating with potential

class members throughout the duration of the case due to the nature and sensitivity of this matter

and the importance of the matter to all who have been affected.

               The Settling Parties also filed numerous other discovery and procedural motions and spent

a significant amount of time meeting and conferring on disputed discovery matters and

subsequently requesting relief from the Court during many telephonic and in-court discovery



13576262 5_7
                                                       3
                    Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 5 of 38




   conferences. Class Counsel spent weeks preparing the Class Representative for her deposition

  including via Zoom, telephonically, and in person, and represented her at her deposition, taken

  on two separate dates during the fact discovery period, as well as her court-ordered medical

   examination under Fed. R. Civ. P. 35. Class Counsel filed a Motion for Class Certification in

      this case, which required extensive briefing, as well as extensive engagement with experts in

      support of the Motion. In May 2023, JPMC opposed class certification and filed a Daubert

   motion seeking to exclude expert testimony. On June 12, the Court granted the Class’s motion

   for class certification and denied Defendant’s Daubert motion as moot.

                    Also in May 2023, the Parties agreed to engage in mediation. On May 30, 2023, the

   Settling Parties participated in a confidential mediation with experienced mediators, including

   retired Judge Layn Phillips of Phillips ADR. The mediation was preceded by the submission of

  mediation statements by the Settling Parties.                The Settling Parties engaged in good faith

  negotiations and continued engaging in good faith negotiations, with the help of Judge Phillips,

   after the conclusion of the day-long mediation. The Settling Parties drafted a Confidential

   Settlement Term Sheet (“Term Sheet”), memorializing their agreement to settle the Class’s

   claims against JPMC and end the Litigation, and executed the Term Sheet on June 11, 2023. The

   Term Sheet included, among other things, the Settling Parties’ agreement to settle and dismiss

   with prejudice the Litigation and grant full mutual releases in return for a cash payment of $290

   million ($290,000,000) by and/or on behalf of the Bank for the benefit of the Class, subject to the

   negotiation of the terms of a Stipulation of Settlement and approval by the Court.

II.               JPMC’S DENIALS OF LIABILITY

                    Throughout this Litigation, JPMC has denied, and continues to deny, each and all of the

   claims and contentions alleged by Class Representative, individually and/or on behalf of the Class



   13576262 5_7
                                                           4
                    Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 6 of 38




   Members, as well as any and all allegations of fault, liability, wrongdoing, or damages. Among

   other things, JPMC has expressly denied, and continues to deny, that it participated in the alleged

   Jeffrey Epstein sex trafficking venture in any way, that any Class Member, including Class

   Representative, has suffered any damages due to any conduct by JPMC, or that any Class

   Member, including Class Representative, was harmed by any of JPMC’s conduct or the conduct

   of any Released Defendant Party alleged in the Litigation or that could have been alleged therein,

   except any conduct relating to or arising from any alleged sexual assault committed by a natural

   person against any Member of the Class, as described in §§ IV.1.25 & IV.4.1. JPMC maintains

   that it has meritorious defenses to the claims alleged in the Litigation. JPMC is entering into this

   Stipulation solely to eliminate the burden, expense, and uncertainty of further protracted litigation.

   JPMC has determined that it is desirable and beneficial to it that the Litigation be settled in the

   manner and upon the terms and conditions set forth in this Stipulation. For the avoidance of any

   doubt, JPMC makes no admission of liability, fault, damages, or any form of wrongdoing

   whatsoever, and this Settlement in no way represents, and may not be construed as, an admission

   of the merits of any claim.

III.              CLASS REPRESENTATIVE’S CLAIMS AND THE BENEFITS OF SETTLEMENT

                    Class Representative and Class Counsel believe that the claims asserted in the Litigation have

       merit and that the evidence developed to date supports the claims asserted therein.             However,

       Class Representative and Class Counsel recognize and acknowledge the expense and length of

       continued proceedings necessary to prosecute the Litigation through trial and through appeals. Class

       Representative and Class Counsel also have accounted for the uncertain outcome and the risk of any

       litigation, especially in complex actions such as this Litigation, as well as the difficulties and delays

   inherent in this Litigation. Class Representative and Class Counsel also are mindful of the possible



   13576262 5_7
                                                              5
                   Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 7 of 38




  defenses to the TVPA and common law violations alleged in the Litigation. Class Representative

  and Class Counsel believe that the Settlement set forth in this Stipulation confers substantial benefits

  upon the Class. Based on their own investigation and evaluation, Class Representative and Class

      Counsel have determined that the Settlement set forth in this Stipulation is in the best interests of

      Class Representative and the Class.

IV.              TERMS OF THE STIPULATION AND AGREEMENT OF SETTLEMENT

                   NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between Class

      Representative (on behalf of herself and the Class Members) and JPMC, by and through their

      respective counsel that, subject to the approval of the Court pursuant to Rule 23(e) of the Federal

      Rules of Civil Procedure, in consideration of the benefits flowing to the Parties from the Settlement,

      the Litigation and the Released Claims shall be finally, fully and forever, compromised, settled,

      released, resolved, relinquished, waived, discharged, and dismissed with prejudice upon and subject

      to the terms and conditions of this Stipulation, as follows:

                   1. Definitions

                   As used in this Stipulation, the following terms, when capitalized, have the meanings

      specified below:

                   1.1     “Allocated Amount” means the settlement amount from the Global Settlement

      Amount assigned to each Participating Claimant by the Claims Administrator in her sole

      discretion, subject to the terms of this Stipulation. For the avoidance of doubt, the total of all

      Allocated Amounts cannot exceed the Global Settlement Amount.

                   1.2    “Claims Administrator” means the individual who will be appointed by the Court

      to administer the Settlement. The Claims Administrator may designate other individuals to assist

      in allocating the Global Settlement Amount; all such designated appointees shall have appropriate



  13576262 5_7
                                                         6
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 8 of 38




qualifications, skills, and relevant experience as determined by the Claims Administrator in her sole

discretion.

               1.3   “Class Counsel” means Boies Schiller Flexner LLP and Edwards Henderson

Lehrman.

               1.4   “Class” means all persons who were harmed, injured, exploited, or abused by

Jeffrey Epstein, or by any person who is connected to or otherwise associated with Jeffrey Epstein

or any Jeffrey Epstein sex trafficking venture, from January 1, 1998, to August 10, 2019, inclusive.

This includes, but is not limited to, (1) individuals under the age of 18 who engaged in sexual

contact with Epstein and/or a person connected to or otherwise associated with Epstein, and

received money or something else of value in exchange for engaging in that sexual contact (even

if the sexual contact was perceived to be consensual); (2) individuals aged 18 or older who were

forced, coerced, or defrauded into engaging in sexual contact by Epstein and/or anyone connected

to Epstein or otherwise associated with Epstein by, for example, using physical force, threatening

serious harm or legal action, making a false promise, or causing them to believe that not engaging

in sexual contact would result in serious harm, and who received money or something else of value

in exchange for engaging in that sexual contact; (3) individuals of any age with whom Epstein,

and/or a person connected to or otherwise associated with Epstein, engaged in sexual contact

without consent (even if the sexual contact was perceived to be consensual provided that the

individual was under the age of 18 at the time of engaging in that contact); and (4) individuals

falling into examples (1)-(3) where the sexual contact occurred prior to January 1, 1998, who were

harmed during the Class Period by the alleged obstruction of any government investigation or were

otherwise harmed by Epstein’s conduct or were prevented within the Class Period from contacting

law enforcement or otherwise seeking help by Epstein and/or anyone connected to Epstein or



13576262 5_7
                                                   7
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 9 of 38




otherwise associated with Epstein by, for example, physical force, the threat of serious harm or

legal action, or making a false promise. JPMC stipulates, agrees, and consents to the definition of

“Class” for the sole purpose of the Settlement, and without prejudice to its right to challenge class

certification and/or the class definition in the event that this Stipulation or the Settlement is

terminated or the Effective Date otherwise fails to occur for any reason. Any petition JPMC files

pursuant to Fed. R. Civ. P. 23(f) to appeal the Court’s June 12, 2023, Order granting class

certification will not be deemed inconsistent with the terms of the Stipulation or the Settlement if

JPMC files a motion to hold the petition in abeyance pending final approval of this Settlement no

later than two business days after filing the petition. JPMC shall withdraw any pending petition

before the Second Circuit within two business days of the Effective Date.

               1.5    “Class Member” or “Member of the Class” means a Person who falls within the

definition of the Class as set forth in ¶ 1.4 above.

               1.6    “Class Period” means the period from January 1, 1998, to August 10, 2019, inclusive.

               1.7    “Court” means the United States District Court for the Southern District of New

York.

               1.8    “Defendant” means JPMorgan Chase Bank, N.A.

               1.9    “Defendant’s Counsel” means Wilmer Cutler Pickering Hale and Dorr LLP and

Massey & Gail LLP.

               1.10   “Effective Date,” or the date upon which this Settlement becomes “Effective,”

means the date that all Participating Claimants, who, in accordance with the process laid out in

§ IV.5, have been determined to be eligible to receive an Allocated Amount by the Claims

Administrator, have been paid from the Qualified Settlement Fund.




13576262 5_7
                                                       8
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 10 of 38




               1.11   “Escrow Agent” means the Claims Administrator.

               1.12   “Final” means, with respect to any order or Judgment of the Court, that such order

or Judgment represents a final and binding determination of all issues within its scope and has not

been reversed, vacated, or modified in any way and is no longer subject to appellate review, either

because of disposition on appeal and conclusion of the appellate process or because of expiration

of time for seeking appellate review, without action. Without limitation, an order or Judgment

becomes final when: (a) either no appeal therefrom has been filed and the time has passed for any

notice of appeal to be timely filed therefrom; or (b) an appeal has been filed and either (i) the court

of appeals has either affirmed the order or Judgment or dismissed that appeal and the time for any

reconsideration or further appellate review has passed, or (ii) a higher court has granted further

appellate review and that court has either affirmed the underlying order or judgment or affirmed

the court of appeals’ decision affirming the Judgment or dismissing the appeal. For purposes of

this paragraph, an “appeal” shall include any motion for reconsideration or petition for a writ of

certiorari or other writ that may be filed in connection with approval or disapproval of this

Settlement. Any appeal or proceeding seeking subsequent judicial review pertaining solely to an

order issued with respect to: (i) attorneys’ fees, costs, or expenses, and (ii) the procedures for

determining and paying Allocated Amounts, shall not in any way delay, affect, or preclude the

Judgment from becoming Final.

               1.13   “Global Settlement Amount” means $290,000,000 (two-hundred-and-ninety

million United States Dollars) in cash to be paid by wire transfer to the Qualified Settlement Fund

pursuant to ¶ 2.2 of this Stipulation.




13576262 5_7
                                                      9
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 11 of 38




               1.14   “Judgment” means the Final Judgment to be rendered by the Court, substantially

in the form attached hereto as Exhibit B, as well as any form of final judgment that may be entered

by the Court in a form other than the form attached hereto as Exhibit B.

               1.15   “Litigation” means the action captioned Jane Doe 1 v. JPMorgan Chase Bank,

N.A., Case No. 1:22-CV-10019 (JSR) now pending in the United States District Court for the

Southern District of New York.

               1.16   “Net Settlement Fund” means the Global Settlement Amount less: (i) any Court-

awarded attorneys’ fees, expenses, and interest thereon; (ii) Notice and Administration Expenses

(defined in ¶ 2.8 below); (iii) Taxes (defined in ¶ 2.10(b) below); and (iv) any other Court-

approved deductions.

               1.17   “Notice” means the notice of settlement to be provided to Class Members,

available at Exhibit A-1. Notice will be provided within 10 calendar days following the Court’s

preliminary approval of the Settlement.

               1.18   “Notice Period” is the period of time from the day Notice is provided through the

deadline to submit a Questionnaire and Release.

               1.19   “Opt-Out Form” means the Court-approved Form completed by any member of

the Court-certified settlement class who wishes to opt out of the class. All such forms must be

submitted to the Claims Administrator no later than 30 days after Notice is provided. The Claims

Administrator will notify Class Counsel and Defendant’s Counsel of the name of each person

who submits an Opt-Out Form within 7 days thereafter.

               1.20   “Participating Claimant” means any Member of the Class who submits the

required Questionnaire and Release to the Claims Administrator for determination of an




13576262 5_7
                                                      10
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 12 of 38




Allocated Amount. A Member of the Class is a Participating Claimant regardless of whether she

is determined to be entitled to an Allocated Amount by the Claims Administrator.

               1.21   “Person(s)” means an individual, corporation (including all divisions and

subsidiaries thereof), limited liability corporation, professional corporation, partnership, limited

partnership, limited liability partnership, limited liability company, joint venture, association,

joint stock company, estate, legal representative, trust, unincorporated association, government

or any political subdivision or agency thereof, and any business or legal entity and all of their

respective spouses, heirs, beneficiaries, executors, administrators, predecessors, successors,

representatives, or assignees when acting in their capacity as such.

               1.22   “Plan of Allocation” means the proposed plan or formula of allocation of the Net

Settlement Fund whereby the Net Settlement Fund shall be distributed to Participating Claimants

in Allocated Amounts.

               1.23   “Qualified Settlement Fund” means an account maintained at a financial

institution where the Global Settlement Amount will be held in escrow. Such account will be

funded by JPMC within fifteen business days after preliminary approval of the Settlement by the

Court.

               1.24   “Questionnaire and Release” means the forms that each Participating Claimant

must submit to be eligible for an Allocated Amount. The Questionnaire and Release must be

submitted to the Claims Administrator no later than 60 days after Notice is provided.

               1.25   “Released Plaintiffs’ Claims” means any and all claims, rights and causes of action

against Released Defendant Parties of every nature and description, duties, obligations, demands,

actions, matters, debts, sums of money, suits, contracts, agreements, promises, issues, judgments,

losses, damages and liabilities, including both known and Unknown Claims, whether fixed or


13576262 5_7
                                                       11
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 13 of 38




contingent, mature or not mature, accrued or unaccrued, liquidated or unliquidated, concealed or

hidden, suspected or unsuspected, direct or indirect, regardless of legal or equitable theory and

whether arising under federal law, state law, statutory law, common law, foreign law, or any other

law, rule, or regulation, whether class, representative, and/or individual in nature, against

Released Defendant Parties that the Released Plaintiff Parties (a) asserted in the Litigation against

the Released Defendant Parties, (b) could have asserted in the Litigation against the Released

Defendant Parties, (c) could in the future assert in any other action or forum assert against the

Released Defendant Parties, (d) have relating to or arising from any harm, injury, abuse,

exploitation, or trafficking by Jeffrey Epstein or by any Person who is in any way connected to

or otherwise associated with Jeffrey Epstein, or (e) have arising from or connected in any way to

the employment with JPMC of any natural person who is a Released Defendant Party. “Released

Plaintiffs’ Claims” does not include: (i) any claims of any Person who submits an Opt-Out Form

that is accepted by the Court; (ii) claims relating to the enforcement of the Settlement; or (iii) any

individual claims against any natural person who is a Released Defendant Party for any alleged

sexual assault committed by that natural person against any Member of the Class. For the

avoidance of doubt, nothing contained in this Stipulation of Settlement shall constitute a release

of any Class Members’ claims against any natural person who sexually abused them. This release

is intended to release, to the maximum extent allowable under law, any claims, rights and causes

of action against Released Defendant Parties of every nature and description, duties, obligations,

demands, actions, matters, debts, sums of money, suits, contracts, agreements, promises, issues,

judgments, losses, damages and liabilities, including both known and Unknown Claims, whether

fixed or contingent, mature or not mature, accrued or unaccrued, liquidated or unliquidated,

concealed or hidden, suspected or unsuspected, direct or indirect, regardless of legal or equitable



13576262 5_7
                                                  12
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 14 of 38




theory and whether arising under federal law, state law, statutory law, common law, foreign law,

or any other law, rule, or regulation, that could be brought to recover damages from the Released

Defendant Parties on behalf of a Member of the Class by any other party, including any sovereign

or government, relating to or arising from any Member of the Class’s harm, injury, abuse,

exploitation, or trafficking by Jeffrey Epstein or by any person who is in any way connected to

or otherwise associated with Jeffrey Epstein, as well as any right to recovery on account thereof.

               1.26   “Released Defendants’ Claims” means any and all claims, rights and causes of

action of every nature and description, duties, obligations, demands, actions, matters, debts, sums

of money, suits, contracts, agreements, promises, issues, judgments, losses, damages and

liabilities, including both known and Unknown Claims, whether fixed or contingent, mature or

not mature, accrued or unaccrued, liquidated or unliquidated, concealed or hidden, suspected or

unsuspected, direct or indirect, regardless of legal or equitable theory and whether arising under

federal law, state law, statutory law, common law, foreign law, or any other law, rule, or

regulation, whether class, representative, and/or individual in nature, against Released Plaintiff

Parties that arise out of or relate in any way to the institution, prosecution, or settlement of the

Litigation, except for claims relating to the enforcement of the Settlement.

               1.27   “Released Defendant Party” or “Released Defendant Parties” mean (i) any and all

of Defendant and Defendant’s Counsel and each of their successors, predecessors, and past,

present, and future: parent corporations, sister corporations, subsidiaries, and affiliated Persons

and (ii) any and all of the foregoing’s respective past, present, or future: principals, assigns,

assignors, legatees, devisees, executors, administrators, estates, heirs, spouses, receivers and

trustees, settlors, beneficiaries, members, equity holders, officers, directors, partners, managers,

employees, servants, agents, insurers, reinsurers, representatives, attorneys, legal representatives,



13576262 5_7
                                                     13
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 15 of 38




and successors-in-interest. For avoidance of doubt, nothing contained in this Stipulation of

Settlement shall constitute a release of any of the Released Defendant Parties’ claims, rights, or

causes of action against their insurers and reinsurers. Nothing contained in this Stipulation of

Settlement shall constitute a release of any Class Members’ claims against any natural person

who sexually abused them.

               1.28   “Released Plaintiff Party” or “Released Plaintiff Parties” means (i) any and all

Class Members, Participating Claimants, Class Representatives, Class Counsel, and each of their

successors, predecessors, and past, present, and future: parent corporations, sister corporations,

subsidiaries, and affiliated Persons and (ii) any and all of the foregoing’s respective past, present,

or future: principals, assigns, assignors, legatees, devisees, executors, administrators, estates,

heirs, spouses, receivers and trustees, settlors, beneficiaries, members, equity holders, officers,

directors, partners, managers, employees, servants, agents, insurers, reinsurers, representatives,

attorneys, legal representatives, and successors-in-interest. Released Plaintiff Parties does not

include any Person who would otherwise be a Member of the Class but who properly exclude(s)

themselves by filing a valid and timely Opt-Out Form. For avoidance of doubt, nothing contained

in this Stipulation of Settlement shall constitute a release of any of the Released Defendant

Parties’ claims, rights, or causes of action against their insurers and reinsurers.

               1.29   “Settlement” means the resolution of the Litigation in accordance with the terms

and provisions of this Stipulation.

               1.30   “Class Representative” means Jane Doe 1.

               1.31   “Settlement Forms” means the Questionnaire and Release, and the Opt-Out Form,

collectively.




13576262 5_7
                                                     14
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 16 of 38




               1.32   “Settlement Hearing” means the hearing to be set by the Court under Rule 23(e)(2)

of the Federal Rules of Civil Procedure to consider final approval of the Settlement.

               1.33   “Settling Parties” means the Released Defendant Parties and Released Plaintiff

Parties.

               1.34   “Unknown Claims” means (a) any and all Released Plaintiffs’ Claims against

Released Defendant Parties that any of the Released Plaintiff Parties do not know or suspect to

exist in his, her, or its favor at the time of the release of the Released Defendant Parties, which,

if known by him, her, or it, might have affected his, her, or its settlement with and release of the

Released Defendant Parties, or might have affected his, her, or its decision(s) with respect to the

Settlement, including, but not limited to, whether or not to object to this Settlement; and (b) any

and all Released Defendants’ Claims that any of the Released Defendant Parties do not know or

suspect to exist in his, her, or its favor at the time of the release of Released Plaintiff Parties,

which, if known by him, her, or it, might have affected his, her, or its settlement with and release

of the Released Plaintiff Parties. With respect to (a) any and all Released Plaintiffs’ Claims, and

(b) any and all Released Defendants’ Claims, the Settling Parties stipulate and agree that, upon

the Effective Date, the Settling Parties shall expressly waive, and each Released Plaintiff Party

and Released Defendant Party shall be deemed to have, and by operation of the Judgment shall

have, expressly waived the provisions, rights, and benefits of California Civil Code § 1542, which

provides:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
               CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
               TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
               RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
               MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
               DEBTOR OR RELEASED PARTY.




13576262 5_7
                                                      15
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 17 of 38




The Settling Parties shall expressly waive, and each Released Plaintiff Party and Released

Defendant Party shall be deemed to have, and by operation of the Judgment shall have, expressly

waived any and all provisions, rights, and benefits conferred by any law of any state or territory of

the United States, or principle of common law, which is similar, comparable, or equivalent to

California Civil Code § 1542. The Released Plaintiff Parties and Released Defendant Parties

acknowledge that they may hereafter discover facts, legal theories, or authorities in addition to or

different from those which he, she, it or they now know or believe to be true with respect to the

subject matter of the Released Claims, but (a) the Released Plaintiff Parties shall expressly fully,

finally, and forever waive, compromise, settle, discharge, extinguish, and release, and each

Released Plaintiff Party shall be deemed to have waived, compromised, settled, discharged,

extinguished, and released, and, upon the Effective Date, and by operation of the Judgment, shall be

deemed to have waived, compromised, settled, discharged, extinguished, and released, fully, finally,

and forever, any and all Released Plaintiffs’ Claims, known or unknown, suspected or unsuspected,

contingent or non-contingent, accrued or unaccrued, whether or not concealed or hidden, which now

exist, or heretofore have existed, or may hereafter exist, upon any theory of law or equity now existing

or coming into existence in the future, including, but not limited to, conduct which is negligent,

intentional, with or without malice, or a breach of any duty, law, or rule, without regard to the

subsequent discovery or existence of such different or additional facts, legal theories, or

authorities, and (b) the Released Defendant Parties shall expressly fully, finally, and forever waive,

compromise, settle, discharge, extinguish and release, and, upon the Effective Date, and by

operation of the Judgment, shall have waived, compromised, settled, discharged, extinguished, and

released, fully, finally, and forever, any and all Released Defendants’ Claims against Released

Plaintiff Parties, known or unknown, suspected or unsuspected, contingent or non-contingent,


13576262 5_7
                                                  16
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 18 of 38




whether or not concealed or hidden, which now exist, or heretofore have existed, upon any theory

of law or equity now existing or coming into existence in the future, including, but not limited to,

conduct which is negligent, intentional, with or without malice, or a breach of any duty, law or

rule, without regard to the subsequent discovery or existence of such different or additional facts,

legal theories, or authorities. The Settling Parties acknowledge, and the Released Plaintiff Parties and

Released Defendant Parties shall be deemed by operation of the Judgment to have acknowledged,

that the foregoing waiver was separately bargained for and is an essential element of the Settlement

of which this release is a part.
               2.    The Settlement

               2.1   The obligations incurred pursuant to the Stipulation are: (a) subject to approval by the

Court and the Judgment (reflecting such approval) becoming Final; and (b) in full and final

disposition of the Litigation and the Released Claims, subject to the terms and conditions set forth

herein.

                      a.      The Settlement Amount

               2.2   In full and final settlement of the claims asserted in the Litigation and in

consideration of the releases specified in ¶¶ 4.1–4.3 herein, JPMC shall pay or cause to be paid

the Global Settlement Amount by wire transfer to the Qualified Settlement Fund within fifteen

(15) business days of the Court granting preliminary approval of the Settlement. The Parties agree

that the compensation is for a personal physical injury and personal physical sickness resulting from

alleged misconduct and emotional distress attributable to such personal physical injuries and

personal physical sickness. If the entire Settlement Amount is not timely paid to the Qualified

Settlement Fund, Class Counsel may terminate this Stipulation and the Settlement, but only upon

condition that: (i) Class Counsel has first notified Defendant’s Counsel in writing of Class



13576262 5_7
                                                        17
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 19 of 38




Counsel’s intention to terminate this Stipulation and the Settlement, and (ii) the entire Settlement

Amount is not transferred to the Qualified Settlement Fund within five (5) business days after

Class Counsel has provided such written notice.

               2.3   JPMC’s sole monetary obligations are to pay or cause to be paid the Global

Settlement Amount into the Qualified Settlement Fund set forth in ¶ 2.2 herein. Funds from the

Qualified Settlement Fund will be used to pay all costs and expenses related to satisfying the

requirements of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715 et seq. (“CAFA”), and

JPMC shall not be liable for any other amount or amounts, including for any attorneys’ fees and

expenses. The Released Defendant Parties shall have no responsibility for, interest in, or liability

whatsoever with respect to: (i) any act, omission, or determination by Class Counsel or the Claims

Administrator, or any of their respective designees, in connection with the administration of the

Settlement or otherwise; (ii) the management, investment, or distribution of the Settlement Fund;

(iii) the Plan of Allocation; (iv) the determination, administration, calculation, or payment of any

Claims asserted against the Settlement Fund; (v) any loss suffered by, or fluctuation in value of,

the Settlement Fund; or (vi) the payment or withholding of any Taxes, expenses, and/or costs

incurred in connection with the taxation of the Qualified Settlement Fund, distributions or other

payments from the Qualified Settlement Fund, or the filing of any federal, state, or local returns.

               2.4   The Escrow Agent shall hold the Global Settlement Amount deposited pursuant to

¶ 2.2 in a Qualified Settlement Fund insured by the Federal Deposit Insurance Corporation

(“FDIC”) to the applicable limits.

               2.5   The Escrow Agent shall not disburse any part of the Qualified Settlement Fund except

as provided in this Stipulation or by an order of the Court.

               2.6   Subject to further order(s) and/or directions as may be made by the Court, the



13576262 5_7
                                                      18
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 20 of 38




Escrow Agent is authorized to execute such transactions as are consistent with the terms of this

Stipulation. The Released Defendant Parties shall have no responsibility for, interest in, or liability

whatsoever with respect to the actions of the Escrow Agent or any transaction executed by the Escrow

Agent.

                2.7    All funds held in the Escrow Account shall be deemed and considered to be in custodia

legis of the Court and shall remain subject to the jurisdiction of the Court, until such time as such

funds shall be distributed pursuant to this Stipulation and/or further order(s) of the Court.

                2.8    The Claims Administrator’s reasonable costs and expenses actually incurred in

connection with providing notice of the Settlement through a dedicated website, and by publication

in USA Today, assisting with the submission of Claims, processing Settlement Forms,

administering the Settlement, and paying any applicable taxes, fees and costs, if any (“Notice and

Administration Expenses”) shall be paid from the Global Settlement Amount.

                2.9    It shall be the responsibility of Class Counsel and the Claims Administrator to

disseminate the Notice, Settlement Forms, and Summary Notice (as defined in ¶ 3.1 below) to Class

Members in accordance with this Stipulation and as ordered by the Court.                     The Released

Defendant Parties shall have no responsibility for or liability whatsoever with respect to the notice

process, nor shall they have any responsibility or liability whatsoever for any claims with respect

thereto, including any claims that may arise from any failure of the notice process.

                         c.     Taxes

               2.10   The Settling Parties agree as follows:

                       (a)      The Parties agree that any compensation to Class Members pursuant to this

Settlement is for a personal physical injury and personal physical sickness resulting from alleged

misconduct and emotional distress attributable to such personal physical injuries and personal


13576262 5_7
                                                         19
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 21 of 38




physical sickness. The Parties and the Escrow Agent agree to treat the Qualified Settlement Fund as

being at all times a “qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1 (26

C.F.R. § 1.468B-1), and the regulations promulgated thereunder.           The Parties and the Escrow

Agent further agree that the Qualified Settlement Fund shall be established pursuant to the Court’s

subject matter jurisdiction within the meaning of Treas. Reg. § 1.468B-1(c)(1). In addition, the

Claims Administrator shall timely make such elections as necessary or advisable to carry out the

provisions of this ¶ 2.10, including the “relation-back election” (as defined in Treas. Reg. § 1.468B-

1(j)(2)(ii)) back to the earliest permitted date. Such elections shall be made in compliance with the

procedures and requirements contained in such regulations. It shall be the responsibility of Class

Counsel or its designee to timely and properly prepare and deliver the necessary documentation for

signature by all necessary parties, and thereafter to cause the appropriate filing to occur.

                     (b)     For the purpose of section 1.468B of the Internal Revenue Code of 1986,

as amended, and the regulations promulgated thereunder, the “administrator” (as defined in Treas.

Reg. § 1.468B-2(k)(3)) shall be the Claims Administrator or its designee.                  The Claims

Administrator or its designee shall timely and properly file all informational and other federal, state,

or local tax returns necessary or advisable with respect to the earnings on the Qualified Settlement

Fund (including, without limitation, the returns described in Treas. Reg. § 1.468B-2(k)).         Such

returns (as well as the elections described in ¶ 2.10(a) hereof) shall be consistent with this ¶ 2.10

and in all events shall reflect that all taxes (including any estimated taxes, interest, or penalties)

(“Taxes”) on the income earned by the Qualified Settlement Fund shall be paid out of the Qualified

Settlement Fund.

                3.    Preliminary Approval Order and Settlement Hearing

               3.1   Promptly following execution of this Stipulation, Class Counsel shall submit this



13576262 5_7
                                                    20
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 22 of 38




Stipulation together with its Exhibits to the Court and shall apply for entry of an order (the

“Preliminary Approval Order”), substantially in the form of Exhibit A attached hereto, requesting,

inter alia, the preliminary approval of the Settlement set forth in this Stipulation, and approval for

Notice and publication of a summary notice (“Summary Notice”), substantially in the forms of

Exhibits A-1 and A-2 attached hereto. The Notice shall include the general terms of the Settlement

set forth in this Stipulation, the proposed Plan of Allocation, the general terms of the Fee and

Expense Application (defined in ¶ 6.1 below), and the date of the Settlement Hearing.

               3.2   Class Counsel shall cause the Claims Administrator to disseminate the Notice and

Summary Notice to the Class in accordance with this Stipulation and as ordered by the Court.

Class Members shall have no recourse as to the Released Defendant Parties with respect to any

claims they may have that arise from any failure of the notice process.

               3.3   Class Counsel shall request that, after notice is given and not earlier than 125

calendar days after the later of the dates on which the appropriate federal official and the appropriate

state officials are provided with notice pursuant to CAFA, the Court hold the Settlement Hearing and

approve the Settlement of the Litigation as set forth herein. At or after the Settlement Hearing, Class

Counsel also will request that the Court approve the Fee and Expense Application, if any (as defined

in ¶ 6.1 below).

                4.    Releases

               4.1   Upon the Effective Date, the Released Plaintiff Parties shall be deemed to have, and

by operation of the Judgment shall have, fully, finally, and forever waived, released, relinquished,

discharged, and dismissed with prejudice each and every one of the Released Plaintiffs’ Claims

against any and all of the Released Defendant Parties and shall forever be barred and enjoined from

asserting, commencing, instituting, prosecuting, continuing to prosecute, or maintaining in any



13576262 5_7
                                                      21
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 23 of 38




court of law or equity, arbitration tribunal, or administrative forum any and all of the Released

Plaintiffs’ Claims against any and all of the Released Defendant Parties, whether or not such Released

Plaintiff Party shares in the Global Settlement Amount.           Claims to enforce the terms of this

Stipulation are not released. Any individual claims by any Class Member against any natural

person who is a Released Defendant Party for any alleged sexual assault committed by that natural

person against any Member of the Class are not released. For the avoidance of doubt, nothing

contained in this Stipulation of Settlement shall constitute a release of any of the Class Members’

claims against any natural person who sexually abused them.

               4.2   Upon the Effective Date, each of the Released Defendant Parties shall be deemed to

have, and by operation of the Judgment shall have, fully, finally, and forever released, relinquished,

and discharged all Released Defendants’ Claims against Released Plaintiff Parties. For avoidance

of doubt, nothing contained in this Stipulation of Settlement shall constitute a release of any of the

Released Defendant Parties’ claims, rights, or causes of action against their insurers and reinsurers.

               4.3   All Class Members who apply for an Allocated Amount will submit an additional

release form included within the Questionnaire and Release.

               5.    Evaluation of Claims, Plan of Allocation, Final Awards, Supervision and
                     Distribution of the Settlement Fund, and Reversion

               5.1   The Claims Administrator shall evaluate the Claims submitted by Participating

Claimants to determine the Allocated Amount. In order to claim an Allocated Amount, Participating

Claimants must submit a Questionnaire and Release, signed under penalty of perjury.

               5.2   Following receipt of a Participating Claimant’s Questionnaire and Release, in order

to determine their Allocated Amount, the Claims Administrator shall consider the following

information: the circumstances, severity, type, and extent of the alleged harm, injury, exploitation,

abuse or trafficking, the nature and duration of the relationship with Epstein, any cooperation with


13576262 5_7
                                                     22
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 24 of 38




government investigations or refusal to cooperate with government investigations or refusal to

cooperate with this civil litigation including any convictions relating to Epstein’s sex trafficking

venture, and the impact of the alleged conduct on the Participating Claimant, and the extent of

recovery, if any, in Jane Doe 1, et al, v. Deutsche Bank Aktiengesellschaft, et. al., Case No. 1:22-

CV-10018 (JSR).

               5.3   Participating Claimants shall submit under penalty of perjury such other supporting

documents or material, if any, to the Claims Administrator as the Claims Administrator may

request within an agreed upon timeframe.

               5.4   For the avoidance of doubt, should the Claims Administrator have concerns as to

the accuracy of a Participating Claimant’s claim form answers, Questionnaire answers, allegations,

or any other information submitted, the Claims Administrator shall promptly notify Class Counsel

in writing of those concerns, and Class Counsel will make such response as they believe

appropriate. Should the Claims Administrator then find that the Participating Claimant’s

allegations lack credibility, the Claims Administrator shall take that finding into consideration in

making her award and, if appropriate, shall deny such individual any allocation of the Global

Settlement Amount. The Claims Administrator’s determination with respect to eligibility shall be

final.

               5.5   The Claims Administrator will hold a meeting (by telephone, video, or in person,

at the Claim Administrator’s sole discretion) with each Participating Claimant, who (i) submits a

Questionnaire and/or supporting documentation, and (ii) requests such a meeting.

               5.6   The Claims Administrator shall provide in writing to Class Counsel and counsel for

JPMC, simultaneously and in a manner that ensures confidentiality, the Allocated Amounts for all

Participating Claimants on the same date within a date to be agreed upon by the Parties.


13576262 5_7
                                                     23
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 25 of 38




               5.7   The Released Defendant Parties and Class Counsel shall have no responsibility for,

or role whatsoever in, the administration of the Settlement or the actions or decisions of the Claims

Administrator. The Released Defendant Parties shall have no liability whatsoever to the Released

Plaintiff Parties, including Class Representative, or any other Class Members, in connection with

such administration, which includes, but is not limited to: (i) any act, omission, or determination

by Class Counsel, the Escrow Agent, and/or the Claims Administrator, or any of their respective

designees or agents, in connection with the administration of the Settlement or otherwise; (ii) the

management of the Qualified Settlement Fund or the Net Settlement Fund, or the distribution of

the Net Settlement Fund; (iii) the determination, administration, calculation, or payment of any

Claims asserted against the Settlement Fund; (iv) any losses suffered by, or fluctuations in value of,

the Settlement Fund; or (v) the payment or withholding of any Taxes, expenses, and/or costs

incurred with the taxation of the Qualified Settlement Fund or the filing of any federal, state, or local

returns.

               5.8   The Qualified Settlement Fund shall be applied as follows:

                     (a)    to pay Notice and Administration Expenses;

                     (b)    to pay the Taxes and Tax Expenses described in ¶ 2.10;

                     (c)    to pay, in accordance with ¶¶ 6.1 – 6.4 herein, attorneys’ fees and expenses of

                            Class Counsel and to pay any amount to the Class Representative for her

                            reasonable costs and expenses, if and to the extent allowed by the Court (the

                            “Fee and Expense Award”); and

                     (d)    after the Effective Date, to distribute the Net Settlement Fund to Participating

                            Claimants as provided by this Stipulation, subject to any modifications to

                            the Stipulation ordered by the Court.



13576262 5_7
                                                      24
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 26 of 38




               5.9    Except as provided herein or otherwise ordered by the Court, all Class Members who

fail to timely submit any Settlement Forms shall be forever barred from receiving any payments

pursuant to this Stipulation and the Settlement set forth herein, but will, in all other respects, be subject

to and bound by the provisions of this Stipulation, the releases contained herein, and the Judgment, and

will forever be barred from bringing any action against the Released Defendant Parties concerning the

Released Plaintiffs’ Claims.

               5.10   Each Participating Claimant who has not excluded himself or herself from the Class,

within 30 days after Notice is provided and using the Court-approved Opt-Out Form defined in

¶ 1.19, shall be deemed to have submitted to the jurisdiction of the Court with respect to such

Participating Claimant’s claim to the Net Settlement Fund.

               5.11   Following the Effective Date, the Net Settlement Fund shall be distributed to the

Participating Claimants pursuant to the terms of this Stipulation.

               5.12   The Released Defendant Parties shall have no responsibility for, role in, or liability

whatsoever with respect to the distribution of the Net Settlement Fund, the determination,

administration, or calculation of Claims, the payment or withholding of Taxes or Tax Expenses, or any

losses incurred in connection with any of the foregoing. No Person shall have any claim of any kind

against the Released Defendant Parties with respect to the matters set forth in ¶¶ 5.1–5.10 hereof; and

the Released Plaintiff Parties release the Released Defendant Parties from any and all liability and

claims arising from or with respect to the administration, investment, or distribution of the Settlement

Fund.

               5.13   No Person shall have any claim against the Released Defendant Parties, Released

Plaintiff Parties, or any other Person designated by Class Counsel based on determinations or

distributions made in good faith and substantially in accordance with this Stipulation and the


13576262 5_7
                                                       25
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 27 of 38




Settlement contained herein, or further order(s) of the Court.

               5.14   If, upon the resolution of all claims asserted by the Participating Claimants and after

the payment of all other amounts to be paid under this agreement, there is a positive remainder of

the Global Settlement Amount, all such funds shall be distributed to a charitable organization to

be determined in a mutually agreeable fashion by the Settling Parties.

               6.     Class Counsel’s Attorneys’ Fees and Expenses

               6.1    Class Counsel may submit an application (the “Fee and Expense Application”) for

distribution from the Qualified Settlement Fund for: (a) an award of attorneys’ fees of up to 30% of

the Global Settlement Amount (pursuant to ¶ 6.3); plus (b) expenses and charges in connection

with prosecuting the Litigation; plus (c) any interest earned on such attorneys’ fees and expenses at

the same rate and for the same periods as earned by the Qualified Settlement Fund (until paid) as may

be awarded by the Court.            JPMC shall take no position with respect to the Fee and Expense

Application.

               6.2    Any fees, costs, and expenses, as awarded by the Court, shall be paid to Class

Counsel from the Qualified Settlement Fund, as ordered, immediately after the Court enters the Final

Judgment or an order awarding such fees, costs, and expenses, notwithstanding the existence of

any timely filed objections thereto or to the Settlement, or potential for appeal therefrom, or

collateral proceedings related to this Litigation. Class Counsel may thereafter allocate the

attorneys’ fees, costs, and expenses in a manner in which it in good faith believes reflects the

contributions of each firm to the initiation, prosecution, and resolution of the Litigation. In the event

that the award of attorneys’ fees is overturned or reduced on appeal, Class Counsel must return such

funds to the Qualified Settlement Fund or as ordered by the Court.

               6.3    Any fees and/or expenses awarded by the Court shall be paid solely from and out



13576262 5_7
                                                        26
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 28 of 38




of the Qualified Settlement Fund. With the sole exception of JPMC’s obligation to pay or cause the

Global Settlement Amount to be paid into the Qualified Settlement Fund as provided for in ¶ 2.2, the

Released Defendant Parties shall have no responsibility for, and no liability whatsoever with

respect to, any payment of any attorneys’ fees and/or expenses (including Taxes). For the

avoidance of doubt, any payment of attorneys’ fees shall be made solely from and out of the

Qualified Settlement Fund, and any payment of fees does not reflect an indemnification by any

Defendant or insurer.

               6.4   Other than JPMC’s obligation to pay or cause the Global Settlement Amount to be

paid into the Qualified Settlement Fund as provided in ¶ 2.2, the Released Defendant Parties shall

have no responsibility for, and no liability whatsoever with respect to, any attorneys’ fees, costs,

or expense (including Taxes) incurred by or on behalf of any Released Plaintiff Party, whether or

not paid from the Qualified Settlement Fund.

               7.    Conditions of Settlement, Effect of Disapproval, Cancellation, or
                     Termination

               7.1   Within 14 days after the end of the Notice Period, Defendant has a right to terminate

the Settlement pursuant to ¶ 10 of the Term Sheet.

               7.2   The Effective Date of the Settlement shall be conditioned on the occurrence of all of

the following events:

                     (a)    the Court has entered the Preliminary Approval Order, or an order

substantially in the form of Exhibit A attached hereto or as may be subsequently agreed to by the

Settling Parties per ¶ 7.3 below, directing notice to the Class, as required by ¶ 3.1 hereof;

                     (b)    the Court has approved the Settlement as described herein, following notice to

the Class and a hearing, as prescribed by Rule 23 of the Federal Rules of Civil Procedure, and entered

the Judgment, or a judgment substantially in the form of Exhibit B attached hereto or as may be


13576262 5_7
                                                      27
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 29 of 38




subsequently agreed to by the Settling Parties per ¶ 7.3 below; and

                     (c)    the Global Settlement Amount has been deposited into the Qualified

Settlement Fund.

               7.3   Upon the Effective Date, any and all remaining interest or right of the Defendant in the

Global Settlement Amount, if any, shall be absolutely and forever extinguished, except as otherwise

provided in this Stipulation, including in ¶ 5.14 and ¶ 7.1. If the conditions specified in ¶ 7.2 hereof

are not met, then this Stipulation and the Settlement shall be terminated subject to ¶ 7.4 hereof,

unless the Settling Parties mutually agree in writing to proceed with the Settlement. For avoidance

of doubt, no order of the Court or modification or reversal on appeal of any order of the Court

concerning the amount of any attorneys’ fees, expenses, and interest awarded by the Court to Class

Counsel or expenses or awards to Class Representative shall operate to terminate this Stipulation or

constitute grounds for termination of the Stipulation.

               7.4    In the event this Stipulation or the Settlement is terminated or the Effective Date

otherwise fails to occur for any reason, any amounts remaining in the Qualified Settlement Fund

shall be returned to JPMC, together with any interest earned on the Global Settlement Amount.

               7.5    In the event this Stipulation or the Settlement is terminated or the Effective Date

otherwise fails to occur for any reason, the Settling Parties shall be restored to their respective

positions in the Litigation within five (5) business days of such failure and shall meet and confer

regarding a new case schedule for the Litigation.            In the event of termination, the terms and

provisions of the Stipulation shall have no further force and effect with respect to the Parties

and shall not be used in this Litigation or in any other proceeding for any purpose, and any

judgment or order entered by the Court in accordance with the terms of this Stipulation shall be

treated as vacated, nunc pro tunc. No order of the Court or modification or reversal on appeal of


13576262 5_7
                                                       28
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 30 of 38




any order of the Court concerning the amount of any attorneys’ fees, expenses, and interest

awarded by the Court to Class Counsel or expenses or awards to Class Representative shall

operate to terminate this Stipulation or constitute grounds for termination of the Stipulation.

               7.6   JPMC warrants and represents that, as of the time of entering this Stipulation, it is

not “insolvent” within the meaning of 11 U.S.C. § 101(32), nor will the payment required to be

made by it render it insolvent. In the event of a final order of a court of competent jurisdiction,

not subject to any further proceedings, determining the transfer of the Global Settlement Amount,

or any portion thereof, by or on behalf of JPMC to be a preference, voidable transfer, fraudulent

transfer, or similar transaction under Title 11 of the U.S. Code or applicable state or similar foreign

law and any portion thereof is required to be refunded and such amount is not promptly deposited

in the Qualified Settlement Fund by or on behalf of JPMC, then, at the election of Class Counsel,

this Stipulation and the Settlement may be terminated and the releases given and the judgment

entered in favor of JPMC pursuant to the Settlement and this Stipulation shall be null and void.

                8.    No Admission of Liability

               8.1   Neither the Term Sheet, this Stipulation (whether or not consummated), the Motion for

Preliminary Approval, including the Exhibits thereto, the negotiations leading to the execution of the

Term Sheet or this Stipulation and the Settlement, nor any proceedings, discussions,

communications, drafts, documents, or agreements taken pursuant to or in connection with this

Stipulation, and/or approval of the Settlement (including any arguments proffered in connection

therewith):

                     (a)    shall be offered or received against any Released Defendant Party in any action

as evidence of or construed as or deemed to be evidence of any presumption, concession, or

admission by any Released Defendant Party of the truth of any allegations by Class Representative or


13576262 5_7
                                                      29
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 31 of 38




any member of the Class or the validity of any claim that has been or could have been asserted in the

Litigation, or the deficiency of any defense that has been or could have been asserted in the

Litigation or in any other litigation, including, but not limited to, litigation of the Released Plaintiffs’

Claims, or of any liability, negligence, fault, or wrongdoing of any kind of any Released Defendant

Party or in any way referred to for any other reason as against any Released Defendant Party, in

any civil, criminal, or administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of this Stipulation;

                     (b)   shall be offered or received against or to the prejudice of any Released

Defendant Party in any action as evidence of a presumption, concession, or admission of liability

for any fault, misrepresentation, or omission with respect to any statement or written document

approved or made by any Released Defendant Party, or against Class Representative or any member

of the Class as evidence of any infirmity in the claims of Class Representative and the Class;

                    (c)    shall be offered or received against any Released Defendant Party in any action

as evidence of a presumption, concession, or admission of any liability, negligence, fault, or

wrongdoing or in any way referred to for any other reason as against any of the parties to this

Stipulation, in any other civil, criminal, or administrative action or proceeding; provided, however,

that if this Stipulation is approved by the Court, Released Defendant Parties may refer to it to

effectuate the releases and rights granted them hereunder; or

                    (d)    shall be construed against any Released Defendant Party, Class Representative,

or the Class as evidence of a presumption, concession, or admission that the consideration to be

given hereunder represents the amount that could be or would have been recovered after trial or in

any proceeding other than this Settlement.

               9.    Miscellaneous Provisions


13576262 5_7
                                                     30
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 32 of 38




               9.1   The Settling Parties: (a) acknowledge that it is their intent to consummate this

Settlement; and (b) agree to cooperate to the extent reasonably necessary to effectuate and

implement all terms and conditions of this Stipulation and to exercise their best efforts to accomplish

the foregoing terms and conditions of this Stipulation.

               9.2   The Settling Parties intend this Settlement to be a final and complete resolution of all

disputes between the Class and JPMC with respect to the Litigation. The Settlement shall not be

deemed an admission by any Settling Party as to the merits of any claim or defense. The Parties

agree that the Settlement Amount and the other terms of the Settlement were negotiated in good

faith by the Settling Parties and reflect a settlement that was reached voluntarily after consultation

with competent legal counsel and with the assistance of experienced mediators.

               9.3    The Settling Parties negotiate a mutually agreeable joint statement at the time the

Settlement is made public. Counsel for both parties will agree not to say anything beyond what is

included in the agreed-upon joint statement that disparages the other party, provided however, that

if a party makes a statement of or concerning counsel for the other party, such counsel may

respond.

               9.4    All the Exhibits to this Stipulation are material and integral parts hereof and are

fully incorporated herein by reference.

               9.5    This Stipulation, along with its Exhibits, may be amended or modified only by a

written instrument signed by or on behalf of all Parties or their respective successors-in-interest.

               9.6    This Stipulation and the Exhibits attached hereto, constitute the entire agreement

among the Settling Parties hereto as to the subject matter hereof and supersede any prior or

contemporaneous written or oral agreements or understandings between the Settling Parties,

including, but not limited to, the Parties’ confidential Term Sheet dated June 11, 2023 (except



13576262 5_7
                                                       31
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 33 of 38




paragraph 10 of that Term Sheet). Each Settling Party expressly disclaims any reliance on any

representations, warranties, or inducements concerning this Stipulation or its Exhibits, other than

the representations, warranties, and covenants contained and memorialized in such documents.

               9.7    Except as otherwise provided herein, or otherwise agreed to in writing by the Settling

Parties, each Settling Party shall bear his, her, or its own fees and costs.

               9.8    Class Counsel represents and warrants that it is expressly authorized by Class

Representative to take all appropriate action required or permitted to be taken by the Class pursuant

to this Stipulation to effectuate its terms and is expressly authorized to enter into any modifications or

amendments to this Stipulation on behalf of the Class which it deems appropriate.

               9.9    Each counsel or other Person executing this Stipulation, its Exhibits, or any related

Settlement document, on behalf of any Settling Party hereby warrants that such Person has the full

authority to do so, and that they have the authority to take appropriate action required or permitted to

be taken pursuant to the Stipulation to effectuate its terms.

               9.10   This Stipulation may be executed in one or more counterparts.           All executed

counterparts and each of them shall be deemed to be one and the same instrument. A complete set of

executed counterparts shall be filed with the Court. Signatures sent electronically shall be deemed

originals.

               9.11   All notices, requests, demands, claims, and other communications hereunder shall

be in writing and shall be deemed duly given: (i) on the day when they are delivered by hand to the

recipient law firm or organization; (ii) one (1) business day after being sent to the recipient by

reputable overnight courier service (charges prepaid) or by e-mail; or (iii) seven (7) business days

after being mailed to the recipient by certified or registered mail, return receipt requested and

postage prepaid, and addressed to the intended recipient as set forth below:



13576262 5_7
                                                       32
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 34 of 38




               If to Class Representative or to Class Counsel:

                 BOIES SCHILLER FLEXNER LLP
                 David Boies
                 Sigrid McCawley
                 Andrew Villacastin
                 55 Hudson Yards, 20th Floor
                 New York, NY 10001
                 Tel: (212) 446-2300
                 dboies@bsfllp.com
                 smccawley@bsfllp.com
                 avillacastin@bsfllp.com

               If to Defendant or to Defendant’s Counsel:

                 WILMER CUTLER PICKERING HALE AND DORR LLP
                 Alan Schoenfeld
                 Boyd M. Johnson III
                 7 World Trade Center
                 250 Greenwich Street
                 New York, New York 10007
                 Tel: (212) 937-7294
                 alan.schoenfeld@wilmerhale.com
                 boyd.johnson@wilmerhale.com

               9.12    This Stipulation shall be binding upon, and inure to the benefit of, the successors and

assigns of the Parties.

               9.13    The Court shall retain jurisdiction with respect to implementation and enforcement of

the terms of this Stipulation, and all Settling Parties submit to the jurisdiction of the Court for

purposes of implementing and enforcing the Settlement embodied in this Stipulation and matters

related to the Settlement.

               9.14    Any action arising under or to enforce this Stipulation or any portion thereof, shall

be commenced and maintained only in the Court.

               9.15    The waiver by one Settling Party of any breach of this Stipulation by any other party

shall not be deemed a waiver by any other Settling Party or a waiver of any other prior or subsequent

breach of this Stipulation.



13576262 5_7
                                                        33
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 35 of 38




               9.16   No opinion or advice concerning the tax consequences of the proposed settlement

to individual Class Members is being given or will be given by the parties or their counsel; nor is

any representation or warranty in this regard made by virtue of this Stipulation. Each Class

Member’s tax obligations, and the determination thereof, are the sole responsibility of the Class

Member, and it is understood that the tax consequences may vary depending on the particular

circumstances of each individual Class Member.

               9.17   Pending approval of the Court of this Stipulation and its Exhibits, all non-settlement-

related proceedings in this Litigation shall be stayed and all Members of the Class shall be barred

and enjoined from prosecuting any of the Released Plaintiffs’ Claims against any of the Released

Defendant Parties.

               9.18   This Stipulation shall not be construed more strictly against one Settling Party than

another merely because it, or any part of it, may have been prepared by counsel for one of the

Settling Parties, it being recognized that the Stipulation is the result of arm’s-length negotiations

between the Settling Parties and all Settling Parties have contributed substantially and materially

to the preparation of this Stipulation.

               9.19   The headings in this Stipulation are used for the purpose of convenience only and

are not meant to have legal effect.

               9.20   All of the Exhibits attached hereto are hereby incorporated by reference as though

fully set forth herein. Notwithstanding the foregoing, in the event that there exists a conflict or

inconsistency between the terms of this Stipulation and the terms of any Exhibit attached hereto,

the terms of the Stipulation shall prevail.

               9.21   Nothing in the Stipulation, or the negotiations relating thereto, is intended to or shall

be deemed to constitute a waiver of any applicable privilege or immunity, including, without



13576262 5_7
                                                        34
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 36 of 38




limitation, attorney-client privilege, joint defense privilege, or work product protection.

               9.22    Unless otherwise provided, the Settling Parties may agree to reasonable extensions of

time to carry out any of the provisions of this Stipulation without further order of the Court.

               9.23    This Stipulation and its Exhibits shall be considered to have been negotiated,

executed and delivered, and to be wholly performed, in the State of New York and the rights and

obligations of the parties to the Stipulation shall be construed and enforced in accordance with, and

governed by, the internal, substantive laws of the State of New York without giving effect to its

choice-of-law principles, except to the extent that federal law requires that federal law govern.

               9.24    The Settling Parties shall cooperate to determine the form of notice to be provided

for the purpose of satisfying the requirements of CAFA (“CAFA Notice”) and the identity of those

who will receive the CAFA Notice. The Settling Parties will cooperate to serve the CAFA Notices.

The cost of CAFA notice will be paid from the Qualified Settlement Fund.

               IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to be executed, by

their duly authorized attorneys.


                                                     EDWARDS HENDERSON LEHRMAN


                                                     /s/ Bradley J. Edwards
                                                     BRADLEY J. EDWARDS

                                                            David Boies
                                                            Andrew Villacastin
                                                            Sabina Mariella
                                                            Alexander Law
                                                            Boies Schiller Flexner LLP
                                                            55 Hudson Yards
                                                            New York, NY 10001
                                                            Telephone: (212) 446-2300
                                                            Fax: (212) 446-2350
                                                            Email: dboies@bsfllp.com
                                                            Email: avillacastin@bsfllp.com


13576262 5_7
                                                       35
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 37 of 38




                                                    Email: smariella@bsfllp.com
                                                    Email: alaw@bsfllp.com

                                                    Sigrid McCawley (pro hac vice)
                                                    Daniel Crispino (pro hac vice)
                                                    Boies Schiller Flexner LLP
                                                    401 E. Las Olas Blvd. Suite 1200
                                                    Fort Lauderdale, FL 33316
                                                    Telephone: (954) 356-0011
                                                    Fax: (954) 356-0022
                                                    Email: smccawley@bsfllp.com
                                                    Email: dcrispino@bsfllp.com

                                                    Bradley J. Edwards
                                                    Edwards Henderson Lehrman
                                                    425 N. Andrews Ave., Suite 2
                                                    Fort Lauderdale, FL 33301
                                                    Telephone : (954) 524-2820
                                                    Fax : (954) 524-2822
                                                    Email: brad@epllc.com

                                                    Brittany N. Henderson
                                                    Edwards Henderson Lehrman
                                                    1501 Broadway
                                                    Floor 12
                                                    New York, NY 10036
                                                    Telephone: (954) 524-2820
                                                    Fax: (954) 524-2820
                                                    Email: brittany@epllc.com

                                                    Class Counsel


                                             WILMER CUTLER PICKERING HALE AND
                                             DORR LLP

                                             /s/ Alan Schoenfeld
                                             ALAN SCHOENFELD

                                                    Alan Schoenfeld
                                                    Boyd M. Johnson III
                                                    Wilmer Cutler Pickering Hale and Dorr LLP
                                                    7 World Trade Center
                                                    250 Greenwich Street
                                                    New York, New York 10007
                                                    Tel: (212) 937-7294


13576262 5_7
                                               36
               Case 1:22-cv-10019-JSR Document 181-1 Filed 06/22/23 Page 38 of 38




                                                    alan.schoenfeld@wilmerhale.com
                                                    boyd.johnson@wilmerhale.com

                                                    Felicia H. Ellsworth
                                                    John J. Butts
                                                    Wilmer Cutler Pickering Hale and Dorr LLP
                                                    60 State Street
                                                    Boston, Massachusetts 02109
                                                    Tel: (617) 526-6000
                                                    felicia.ellsworth@wilmerhale.com
                                                    john.butts@wilmerhale.com

                                                    Counsel for JPMorgan Chase Bank, N.A.




13576262 5_7
                                               37
